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                                FILED PARTIALLY UNDER SEAL




                          Exhibit 93

    November 7, 2022 Electronic Notice
(Excerpt of Exhibit B Included as Exhibit 94)
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                 Excerpt of Exhibit B
                Included as Exhibit 94
